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IN THE UNITED STATES DISTRICT COURT
FOR THE EASTERN DISTRICT OF PENNSYLVANIA

 

RICHARD HARRIS

Plaintiff,
CIVIL ACTION NO: 2:21-cv-03006

Vv.

T-MOBILE USA, INC.; DOES 1 through 10,
inclusive

Detendants.

 

PLAINTIFF’S RESPONSE IN OPPOSITION TO DEFENDANT’S
AMENDED MOTION TO COMPEL ARBITRATION AND FOR STAY

Plaintiff, Richard Harris (“Plaintiff”), by and through his undersigned counsel, hereby files
this Response in Opposition to the Amended Motion to Compel Arbitration (the “Motion”) filed
by Defendant, T-Mobile USA, Inc. (“Defendant”) at Docket No. 15 in the above captioned action.
Defendant’s Motion should be denied for the reasons set forth in the attached Memorandum of
law, incorporated herein by reference pursuant to Fed. R. Civ. P. 10(c).

WHEREFORE, Plaintiff for good cause ston, respectfully requests that this Court
deny the Motion to Compel Arbitration, and rule against Defendant and in Plaintiff's favor, in

the form of order submitted herewith.

Respectfully submitted,

Date: January 21, 2022

 

 

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Counsel for Plaintiff
